7/1/2015                                                             Preview ­ 1:13CR00420­002
                       Case 1:13-cr-00420-LJO-SKO Document 90 Filed 07/01/15 Page 1 of 4
  AO 245B­CAED(Rev. 09/2011) Sheet 1 ­ Judgment in a Criminal Case



                              UNITED STATES DISTRICT COURT
                                                 Eastern District of California
                   UNITED STATES OF AMERICA                                   JUDGMENT IN A CRIMINAL CASE
                                                                              (For Offenses Committed On or After November 1, 1987)
                              v.
                   ELIEZAR AGUILAR­MADRIZ                                     Case Number: 1:13CR00420­002
                                                                              Defendant's Attorney: Roger K. Litman, Appointed

  THE DEFENDANT:
           pleaded guilty to count(s) 3 of the FIRST Superseding Indictment.
           pleaded nolo contendere to count(s)     which was accepted by the court.
           was found guilty on count(s)    after a plea of not guilty.
  ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense (s):
                                                                                                  Date Offense                        Count
  Title & Section            Nature Of Offense
                                                                                                  Concluded                           Number
                                   DISTRIBUTION OF A CONTROLLED SUBSTANCE, USE OF
   21 U.S.C. §841(a)(1), 861(a)(1)
                                   MINOR IN COMMITTING A DRUG OFFENSE AND AIDING August 15, 2013                                      3
   and 18 U.S.C. 2
                                   AND ABETTING

         The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed pursuant to the
  Sentencing Reform Act of 1984.

           The defendant has been found not guilty on count(s)      and is discharged as to such count(s).
           Count (s) 1, 2, 4, 5 are dismissed on the motion of the United States.
           Indictment is to be dismissed by District Court on motion of the United States.
           Appeal rights given.                             Appeal rights waived.

          IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
  change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
  fully paid. If ordered to pay restitution or fine, the defendant must notify the court and United States Attorney of material changes in
  economic circumstances.
                                                                             6/29/2015
                                                                             Date of Imposition of Judgment
                                                                             /s/ Lawrence J. O'Neill
                                                                             Signature of Judicial Officer
                                                                             Lawrence J. O'Neill, United States District Judge
                                                                             Name & Title of Judicial Officer
                                                                             7/1/2015
                                                                             Date
7/1/2015                                                          Preview ­ 1:13CR00420­002
                        Case 1:13-cr-00420-LJO-SKO Document 90 Filed 07/01/15 Page 2 of 4
  AO 245B­CAED(Rev. 09/2011) Sheet 2 ­ Imprisonment
  DEFENDANT:ELIEZAR AGUILAR­MADRIZ                                                                                                Page 2 of 4
  CASE NUMBER:1:13CR00420­002

                                                             IMPRISONMENT

  The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
  120 Months.

           No TSR: Defendant shall cooperate in the collection of DNA.

           The court makes the following recommendations to the Bureau of Prisons:
           The Court recommends that the defendant be incarcerated in a California facility, but only insofar as this accords with security
           classification and space availability.

           The defendant is remanded to the custody of the United States Marshal.

           The defendant shall surrender to the United States Marshal for this district
                   at       on    .
                   as notified by the United States Marshal.

           The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                   before        on   .
                   as notified by the United States Marshal.
                   as notified by the Probation or Pretrial Services Officer.
           If no such institution has been designated, to the United States Marshal for this district.

                                                                   RETURN
  I have executed this judgment as follows:




            Defendant delivered on                                                      to
  at                                                   , with a certified copy of this judgment.



                                                                          United States Marshal


                                                                          By Deputy United States Marshal
7/1/2015                                                             Preview ­ 1:13CR00420­002
                      Case 1:13-cr-00420-LJO-SKO Document 90 Filed 07/01/15 Page 3 of 4
  AO 245B­CAED(Rev. 09/2011) Sheet 5 ­ Criminal Monetary Penalties
  DEFENDANT:ELIEZAR AGUILAR­MADRIZ                                                                                                   Page 3 of 4
  CASE NUMBER:1:13CR00420­002

                                               CRIMINAL MONETARY PENALTIES

            The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

                                                              Assessment                         Fine                  Restitution
             TOTALS                                                $100
           The determination of restitution is deferred until        . An Amended Judgment in a Criminal Case (AO 245C) will be entered
           after such determination.

           The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
           otherwise in the priority order or percentage payment colunm below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
           victims must be paid before the United States is paid.

   Name of Payee                                              Total Loss*          Restitution Ordered Priority or Percentage
   Totals                                                     $____                     $____
           Restitution amount ordered pursuant to plea agreement $

           The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
           before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6
           may be subject to penalities for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

           The court determined that the defendant does not have the ability to pay interest and it is ordered that:

                 The interest requirement is waived for the               fine         restitution

                 The interest requirement for the           fine            restitution is modified as follows:


           If incarcerated, payment of the fine is due during imprisonment at the rate of not less than $25 per quarter and payment shall be
           through the Bureau of Prisons Inmate Financial Responsibility Program.

           If incarcerated, payment of the restitution is due during imprisonment at the rate of not less than $25 per quarter and payment
           shall be through the Bureau of Prisons Inmate Financial Responsibility Program.
  *Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
  on or after September 13, 1994, but before April 23, 1996.
7/1/2015                                                            Preview ­ 1:13CR00420­002
                     Case 1:13-cr-00420-LJO-SKO Document 90 Filed 07/01/15 Page 4 of 4
  AO 245B­CAED(Rev. 09/2011) Sheet 6 ­ Schedule of Payments
  DEFENDANT:ELIEZAR AGUILAR­MADRIZ                                                                                                    Page 4 of 4
  CASE NUMBER:1:13CR00420­002

                                                      SCHEDULE OF PAYMENTS
           Payment of the total fine and other criminal monetary penalties shall be due as follows:

   A.              Lump sum payment of $        100.00        due immediately, balance due
                           Not later than      , or
                           in accordance              C,          D,        E,or          F below; or
   B.              Payment to begin immediately (may be combined with                   C,         D,     or    F below); or

   C.              Payment in equal    (e.g. weekly, monthly, quarterly) installments of $       over a period of         (e.g. months or
                   years), to commence    (e.g. 30 or 60 days) after the date of this judgment; or

   D.              Payment in equal    (e.g. weekly, monthly, quarterly) installments of $     over a period of      (e.g. months or
                   years), to commence    (e.g. 30 or 60 days) after release from imprisonment to a term of supervision; or

   E.              Payment during the term of supervised release/probation will commence within       (e.g. 30 or 60 days) after release
                   from imprisonment. The court will set the payment plan based on an assessment of the defendants ability to pay at
                   that time; or

   F.              Special instructions regarding the payment of crimimal monetary penalties:

   Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
   due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
   Inmate Financial Responsibility Program, are made to the clerk of the court.

   The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

           Joint and Several

   Defendant and Co­Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
   and corresponding payee, if appropriate:

           The defendant shall pay the cost of prosecution.

           The defendant shall pay the following court cost(s):

           The defendant shall forfeit the defendant's interest in the following property to the United States:

   Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
   (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
